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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )         8:06CR242
                                           )
             Plaintiff,                    )
                                           )         ORDER
v.                                         )
                                           )
SHAWN B. BIGGS,                            )
                                           )
             Defendant.                    )



      Before the court is defendant’s Motion to Continue Change of Plea Date [55]. The
government has no objection. Good cause being shown, the motion will be granted and
the Change of Plea hearing will be continued.

      IT IS ORDERED:

       1.    That the defendant’s Motion to Continue Change of Plea Date [55] is
             granted.

      2.     That the Change of Plea hearing is continued to January 23, 2007 at
             3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, 2 nd
             Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha,
             Nebraska.

      3.     The time between December 27, 2006 and the hearing on the anticipated
             plea of guilty is excluded for purposes of computing the limits under the
             Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 27th day of December, 2006.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
